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                 Exhibit
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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


 Philadelphia Yearly Meeting of the
 Religious Society of Friends, et al.,

                Plaintiffs,

 v.

 U.S. Department of Homeland                        Civil Case No. ___________
 Security, et al.,

                Defendants.



                        DECLARATION OF NOAH MERRILL

      I, Noah Merrill, declare under penalty of perjury, under 28 U.S.C. § 1746, that

the following is true and correct:

The history and structure of New England Yearly Meeting of the Religious
                            Society of Friends

      1. New England Yearly Meeting is the formal and legal association of local

         Quaker congregations in the six New England states: Connecticut, Maine,

         Massachusetts, New Hampshire, Rhode Island, and Vermont.

      2. New England Yearly Meeting is located at:

         901 Pleasant St.

         Worcester, MA 01602

      3. A Yearly Meeting in the Quaker religion is an association, a yearly

         gathering, and the way of describing Quakers within a certain region.

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4. New England Yearly Meeting is the oldest Yearly Meeting in the world. It

   has met continuously since 1661.

5. New England Yearly Meeting comprises 63 local congregations—called

   monthly meetings—across New England. The monthly meetings range from

   rural to urban, and everything in between.

6. Monthly meetings are the basic organizational unit in the Quaker religion.

   Generally, monthly meetings have been incorporated, have bylaws, own a

   meeting house, and have their own budget. Most community-based

   activities happen at monthly meetings.

7. To be a monthly meeting in the Religious Society of Friends, a meeting must

   be recognized by a quarterly or yearly meeting.

8. Quarterly meetings are gatherings of monthly meetings in a specific

   geographic area.

9. Quarterly meetings gather 3-4 times a year for worship and to make

   decisions about issues that concern the monthly meetings in the region.

10. Quarterly meetings are sometimes individual legal entities, most often they

   are not.

11. Quarterly meetings are formally and legally a constituent and subsidiary

   part of the Yearly Meeting.

12. The Yearly Meeting is the highest organizational body (judicatory) in the

   Religious Society of Friends. There is no wider organization to which a




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   Yearly Meeting answers, though yearly meetings globally are in contact

   with one another.

13. The Yearly Meeting gathers yearly for worship and to make decisions about

   issues that affect the constituent quarterly and monthly meetings.

14. The Yearly Meeting is legally incorporated, both as a church and a 501(c)(3).

15. Monthly meetings are the heart of the Quaker community, but legally and

   practically the Yearly Meeting exercises a degree of control over monthly

   meetings.

16. With rare exceptions, every one of New England Yearly Meeting’s

   constituent monthly meetings sends an annual report to New England

   Yearly Meeting and, depending on the contents of the report, New England

   Yearly Meeting will work with the monthly meeting to determine its best

   path forward.

17. If there is a potential legal issue at a monthly meeting, the meeting would

   contact New England Yearly Meeting to intervene or assist.

18. New England Yearly Meeting acts on behalf of monthly meetings for legal

   purposes. If, for example, someone made a bequest to a monthly meeting

   that an estate was not honoring, New England Yearly Meeting would take

   appropriate action on behalf of the monthly meeting.

19. New England Yearly Meeting does not manage the budgets of its monthly

   meetings. But if a monthly meeting closes down, generally the monthly

   meeting’s assets transfer to New England Yearly Meeting.



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20. Monthly meetings fund New England Yearly Meeting. Approximately 2/3 of

   the budget of New England Yearly Meeting comes from monthly meetings.

21. Because so much of New England Yearly Meeting’s budget comes from

   monthly meetings, a loss of members would harm the monthly meetings and

   New England Yearly Meeting.

22. New England Yearly Meeting is not its own church in the same way that a

   monthly meeting is. But New England Yearly Meeting gathers annually for

   worship, fellowship, advocacy, and decision-making about the development

   of the Quaker faith in New England.

23. When we meet annually, we understand the Yearly Meeting to be its own

   worshipping body. As part of that worshipping body, the Yearly Meeting has

   its own clerk and those who guide New England Yearly Meeting’s religious

   development and service in the world.

24. New England Yearly Meeting emphasizes that all Quakers in New England

   are a part of our community. The annual gathering is attended by members

   of monthly meetings throughout New England and others interested in

   exploring or developing ties with the Quaker faith.

25. Our annual gathering is open to anyone who wants to attend. It is generally

   understood that nonmembers will likely not play a substantial role in

   decision making at the annual gathering. But they are welcome to attend

   and to worship.




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26. New England Yearly Meeting would never turn anyone away from our

   annual gathering based on their immigration status, and we do not ask

   about immigration status.

27. Because Quakers believe that any and every person can experience God

   directly in a way that should be shared with others, we encourage and

   welcome people from all walks of life.

28. New England Yearly Meeting, like Quakers generally, understand ourselves

   as a global community.

29. The Quaker faith has a strong tie to Central and South America. We have

   attendees at New England Yearly Meeting’s annual gathering for whom

   Spanish is their first language, both residents of the United States and

   visitors from several Latin American countries. So we provide interpretive

   services at large meetings, including our annual gathering.

30. The Quaker faith also has a strong tie to Africa. New England Yearly

   Meeting has a monthly meeting that consists of members of the African

   Diaspora.

      My role in the New England Yearly Meeting and my faith

31. I am the Yearly Meeting Secretary of New England Yearly Meeting. The

   position is roughly equivalent to that of Executive Director for the

   organization.

32. As Yearly Meeting Secretary, I serve as the legal agent and representative

   of New England Yearly Meeting.



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33. The position of Yearly Meeting Secretary answers to the Permanent Board

   of New England Yearly Meeting.

34. The Yearly Meeting Secretary directly supervises 9 staff members.

35. I have been in my position for 12 years.

36. I have been employed in various positions in the Quaker faith since 2003.

37. I grew up a Quaker and am an active member in the Religious Society of

   Friends.

38. I have been recognized as a Recorded Minister. In the Quaker faith, a

   Recorded Minister is one in whom the community has recognized certain

   sustained gifts and expects to be able to interpret the Quaker faith to the

   wider world.

39. I believe that any immigration-enforcement action at a Quaker house of

   worship would cause serious harm to the religious exercise of New England

   Yearly Meeting and its member monthly meetings. And I believe that the

   threat of immigration-enforcement actions at a Quaker house of worship

   causes serious harm to the religious exercise of New England Yearly

   Meeting and its member monthly meetings.

40. I do not recall ever seeing a gun in a Quaker meeting, and Quakers have

   held a religious commitment against violence in all forms for more than 350

   years.

41. I understand the immigration-enforcement officers generally are armed.




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42. I believe that the presence of armed officers at a meeting would cause

   significant harm to our religious exercise.

43. Knowing that immigration enforcement can happen at a monthly meeting,

   at any of our worship events throughout the year, or at our annual

   gathering, I cannot be as encouraging of immigrants joining us for worship.

   As much as their presence would benefit our religious experience, I do not

   feel comfortable knowing that their attendance could subject them to armed

   federal officers.



  Newfane, Vermont
  January 25, 2025




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